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                                                1    FELICIA GALATI, ESQ.
                                                     Nevada Bar No. 7341
                                                2
                                                     OLSON CANNON GORMLEY & STOBERSKI
                                                3    9950 West Cheyenne Avenue
                                                     Las Vegas, NV 89129
                                                4    fgalati@ocgas.com
                                                     Telephone: 702-384-4012
                                                5
                                                     Facsimile: 702-383-0701
                                                6    Attorneys for Defendants CLARK COUNTY,
                                                     GLORIA MALDONADO and AUDRA GUTIERREZ
                                                7

                                                8
                                                                           UNITED STATES DISTRICT COURT
                                                9                               DISTRICT OF NEVADA

                                                10    ROBERT ANSARA, as Special Administrator of
                                                      the estate of D.B., born December 18, 2015 and
                                                11    died August 15, 2017 and GABRIELLE                  CASE NO. 2:19-cv-01394-GMN-VCF
                                                      BRANON-CHESLEY, individually, as the Natural
                                                12    Mother of D.B., David Banks, individually and as
                                                      the Natural Father of D.B.,                         STIPULATION TO EXTEND TIME
                                                13
OLSON CANNON GORMLEY & STOBERSKI




                                                                                                          FOR DEFENDANTS CLARK
                           Fax (702) 383-0701




                                                                                            Plaintiffs,
                                                14                              v.                        COUNTY, GLORIA MALDONADO
          9950 West Cheyenne Avenue




                                                                                                          AND AUDRA GUITIERREZ TO
           A Professional Corporation

            Las Vegas, Nevada 89129




                                                15    GLORIA MALDONADO, individually; AUDRA REPLY TO PLAINTIFFS’
                 Law Offices of




                                                      GUITERREZ, individually; CLARK COUNTY,              OPPOSITION TO DEFENDANTS’
                                                16    a political subdivision of the State of Nevada;     MOTION TO DISMISS PLAINTIFFS’
                                                      DOE individuals I-XX; ROE CLARK COUNTY
                                                17                                                        SECORD AMENDED COMPLAINT
  (702) 384-4012




                                                      DEPARTMENT OF FAMILY SERVICES
                                                18
                                                      EMPLOYEES I-XX, individually and in their
                                                      official capacities; TROPICANA DE, LLC, d/b/a       (SECOND REQUEST)
                                                19    SIEGAL SUITES OF TROPICANA, a Foreign
                                                      Limited Liability Corporation; AND DOE
                                                20    SECURITY COMPANY and ZOE
                                                      CORPORATIONS XXI-XXX,
                                                21                                            Defendants.

                                                22
                                                            COME NOW Plaintiffs ROBERT ANSARA, as Special Administrator of the estate of
                                                23

                                                24   D.B., born December 18, 2015 and died August 15, 2017 and GABRIELLE BRANON-

                                                25   CHESLEY, individually, as the Natural Mother of D.B., David Banks, individually and as the
                                                26
                                                     Natural Father of D.B. and Defendants COUNTY OF CLARK, GLORIA MALDONADO and
                                                27
                                                     AUDRA GUTIERREZ,         by and through their undersigned counsel of record and hereby
                                                28                                            1
                                                     Case 2:19-cv-01394-GMN-VCF Document 97 Filed 09/25/20 Page 2 of 2



                                                1    stipulate to extend the time for Defendants COUNTY OF CLARK, GLORIA MALDONADO
                                                2
                                                     and AUDRA GUTIERREZ (“County Defendants”) to Reply to Plaintiffs’ Opposition to
                                                3
                                                     County Defendants’ Motion to Dismiss Plaintiffs’ Second Amended Complaint.             County
                                                4
                                                     Defendants’ Reply to Plaintiffs’ Opposition is currently due on 9/30/2020. This is County
                                                5

                                                6    Defendants’ second request for an extension based on other case obligations. The parties have

                                                7    agreed to extend Defendants’ Reply deadline to Plaintiffs’ Opposition to Defendants Motion to
                                                8
                                                     Dismiss Plaintiffs’ Second Amended Complaint to 10/9/2020. This Stipulation is submitted in
                                                9
                                                     good faith and not for the purpose of undue delay.
                                                10
                                                      DATED this 24th day of September, 2020          DATED this 24th day of September,
                                                11
                                                                                                      2020
                                                12
                                                      /s/ Samantha A. Martin, Esq.                    /s/ Felicia Galati
                                                13    Samantha A. Martin, Esq.                        Felicia Galati, Esq.
OLSON CANNON GORMLEY & STOBERSKI



                           Fax (702) 383-0701




                                                      Nevada Bar No. 12998                            Nevada Bar No. 7341
                                                14
                                                      RICHARD HARRIS LAW FIRM                         OLSON, CANNON, GORMLEY
          9950 West Cheyenne Avenue
           A Professional Corporation

            Las Vegas, Nevada 89129




                                                15    801 South Fourth Street                         ANGULO & STOBERSKI
                 Law Offices of




                                                      Las Vegas, Nevada 89101                         9950 W. Cheyenne Ave.
                                                16    Attorneys for Plaintiff                         Las Vegas, Nevada 89129
                                                                                                      Attorneys for Defendants
                                                17
  (702) 384-4012




                                                                                                      COUNTY OF CLARK, GLORIA
                                                18                                                    MALDONADO and AUDRA
                                                                                                      GUITIERREZ
                                                19
                                                                                             ORDER
                                                20

                                                21          IT IS SO ORDERED, that Defendants COUNTY OF CLARK, GLORIA

                                                22   MALDONADO AND AUDRA GUTIERREZ have until 10/9/2020 to Reply to Plaintiffs’
                                                23
                                                     Opposition to Defendants’ Motion to Dismiss Plaintiffs’ Second Amended Complaint.
                                                24
                                                                                                          IT IS SO ORDERED.
                                                25

                                                26                                                                    25 day of September, 2020.
                                                                                                          Dated this ____

                                                27

                                                28
                                                                                                          ___________________________
                                                                                                          Gloria M. Navarro, District Judge
                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                 2
